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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

       v.                                            Case No. 21-cr-160 (TJK)

FELICIA KONOLD

              AMENDED MOTION TO AMEND CONDITIONS OF RELEASE

       Comes now the defendant, by and through his attorney, Richard S. Stern, to respectfully

move this Honorable Court to amend his conditions of release to vacate the requirement under

sections 7p(ii) and 7(q) requiring home detention and location monitoring.

Amended Attempt to obtain consent

       Undersigned counsel contacted Christopher Berridge, Esquire, counsel for the

government, on his position on this matter. As of the time of prior filing, counsel has not heard

from him.     Mr. Berridge pointed out that the title stated it was unopposed. That was a

typographical error. Mr. Berridge does not consent to the motion.

       As grounds therefore we state as follows:

       1. Ms. Konold was released from custody per Magistrate Judge Merriweather’s order

dated February 26, 2021.

       2. The order required that Ms. Konold would be supervised by the Pretrial Services

Agency in the District of Arizona.

       3. The undersigned contacted the DC Pretrial Services Agency and spoke to Da’Shanta’

Valentine Lewis, who stated that the Agency would defer to the Court.

       4. To the best of counsel’s knowledge and based on the PSA’s report of March 22, 2021,

Ms. Konold has been complying with all of her conditions of release and nothing has been filed

to the contrary.


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        5. Ms. Konold’s PSA report shows no criminal conviction record. She does have a

pending DUI and misdemeanor case which is still pending for a status call on April 27, 2020 and

she has been complaint without issue.

        6. When she was first incarcerated, she was found to be pregnant by the medical officer

at the jail in Arizona. She clearly is neither a danger to the community nor a danger of flight.

The Criminal Complaint in this case, ECF No. 1, showed in Paragraph 18 that she voluntarily

had an interview with the FBI and thereafter made no efforts to escape from law enforcement or

evade the Courts

        6. Ms. Konold presently has one child who she home schools and she has worked as

gardener. She has not been allowed to work because her clients pay in cash which is normal for

such work and has been severely restricted as to her movements, even to do grocery shopping for

her family. She is also the only care giver to her elderly aunt who needs her help,

        7. Wearing the ankle bracelet and being so monitored has restricted her ability to simply

her life.

        8. We submit the conditions at issue are simply unnecessary as she has earned the trust

of the Court by obeying orders and showing up for court proceedings to date without incident.

The next Court date is May 5, 2021.

        9. A least onerous condition would be her to report by phone on a more regular basis

than once per week.

        10. The Arizona Pretrial Services Agency report verified that her aunt with whom she

lives was a suitable third custodian and who was willing to accept the duties all responsibilities

of the appointment.




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        11. In sum, Ms. Konold is a mother with a young son, has no violent or dangerous

history, is college educated and has been completely compliant (per every report taken) with the

Court since her arrest on February 11, 2021. She is responsible for other lives, not including her

own, that requires daily care and trips to accommodate.

        WHEREFORE, we pray that the Court vacate the location monitoring and ankle bracelet

requirements in this case.


                                                     Respectfully submitted,


                                                    /s/ Richard S. Stern
                                                    _________________________
                                                    RICHARD S. STERN
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                                                    Attorney for Ms. Konold

                                     CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that I have electronically served all counsel of record on April 2,
2021.


                                                     /s/ Richard S. Stern
                                                     _________________________
                                                     RICHARD S. STERN




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